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                          IN THE UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION

 STRATESPHERE LLC, et al.,

        Plaintiffs-Counterclaim Defendants,
                                                      Case No. 2:20-cv-2972
 v.
                                                      Judge Michael H. Watson
 KOGNETICS INC, et al.,
                                                      Magistrate Judge Chelsey M. Vascura
        Defendants-Counterclaimants.


                        DEFENDANTS-COUNTERCLAIMANTS’
                     PARTIAL MOTION FOR SUMMARY JUDGMENT

        Pursuant to Federal Rule of Civil Procedure 56, Defendant-Counterclaimants Kognetics,

 Inc., Inderpreet Thukral, and Rajeev Vaid (collectively, “Kognetics”), hereby move this Court to

 enter summary judgment in Kognetics’ favor on the following claims: (1) Kognetics’ breach of

 contract claim against Kognetics Holding Company (“KHC”) (Counts I & IV); (2) Kognetics’

 declaratory judgment claims against StrateSphere LLC, KHC, and Kognetics LLC (with Tariq

 Farwana, “StrateSphere” or “Counterclaim Defendants”) (Counts III & V); (3) Kognetics’

 fraudulent inducement claim against Counterclaim Defendants (Count II); and (4) Thukral and

 Vaid’s breach of contract and unjust enrichment/quantum meruit claims against Counterclaim

 Defendants (Counts I & II, Docs. 45 & 46, respectively). Summary judgment on the foregoing

 claims effectively moots Counterclaim Defendants’ remaining claims against Kognetics, leaving

 only Kognetics’ shareholder claims, tortious interference claims, and copyright infringement

 claims for trial and Kognetics’ damages at a post-trial hearing. The bases and support for the

 Motion for Partial Summary Judgment are more fully discussed in the attached Memorandum in

 Support.
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 Date: May 16, 2022                          Respectfully submitted,

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                                MEMORANDUM IN SUPPORT

        There are two case dispositive issues and a third meritless issue before this Court that can

 be decided as a matter of law. The first issue is whether StrateSphere1 fraudulently induced

 Kognetics to enter the Asset Purchase Agreement (the “APA”) and the Master Service

 Agreement (the “MSA”). In exchange for a majority interest in software that Kognetics had

 developed (the “Software”), StrateSphere provided a 10% ownership interest in StrateSphere

 LLC to Kognetics. The undisputed evidence shows that in July 2018, just one month before the

 APA’s execution, Farwana directly represented to Kognetics that StrateSphere LLC was worth

 $30 million to $50 million—setting Kognetics’ 10% interest at $3 to $5 million. Farwana lied to

 induce Kognetics to part with its Software.

        The facts and evidence reflect that in June 2018, Farwana and StrateSphere co-founder

 Damon Caiazza—without holding a member meeting—approved a self-dealing repurchase of

 10% of StrateSphere LLC’s outstanding shares from Farwana’s family trust (the “Farwana

 Trust”), setting the value of the company at $50 million and that 10% interest at $5 million.

 Farwana and Caiazza set this $50 million value without the substantiation of a formal valuation,

 and thus this value is unsupported by StrateSphere LLC’s books and records. Even Farwana

 admits it is pure fiction. That this valuation was fraudulent is bolstered by StrateSphere having

 repurchased a different member’s 3% interest in late-2018 for only $100,000. In that stock

 repurchase transaction, StrateSphere LLC valued itself at a mere $2,821,330—reducing its

 earlier valuation by more than $47 million. And, this December valuation was after StrateSphere

 had acquired the interest in the Kognetics Software and all of Kognetics’ clients. By drastically


 1
         “StrateSphere” refers collectively to Plaintiff/Counterclaim Defendants StrateSphere
 LLC, Kognetics Holding Company LLC (“KHC LLC”), and Kognetics LLC (“KLLC”), as well
 as Tariq Farwana. The individual entities are referred to as needed.
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 overstating its own value in July, StrateSphere fraudulently induced Kognetics to enter the APA

 and to transfer its highly valuable Software to StrateSphere.

        Separate from StrateSphere’s fraud—there is another issue: whether, under the First

 Breach Doctrine, the APA, MSA, and employment contracts of Kognetics founders Thukral and

 Vaid were voided by StrateSphere breaching each of the contracts from the very beginning.

 Regarding the APA, StrateSphere committed the first breach when it failed to make timely and

 sufficient capital contributions to Kognetics LLC in the months immediately following the

 APA’s execution, and when it failed to make the very first $50,000 royalty payment due to

 Kognetics in January 2019. In fact, there is no legitimate dispute that StrateSphere has never

 made a single royalty payment to Kognetics, or that StrateSphere now owes Kognetics $300,000

 in royalties. As for the MSA, StrateSphere likewise committed a separate first breach when they

 underpaid Kognetics by more than $539,000 in operating expenses and $295,000 in

 reimbursements. That StrateSphere owes money under the MSA is also not legitimately

 disputed, as again, StrateSphere admits that it did not pay invoices under the MSA in full.

 Finally, StrateSphere committed the first breach of both Thukral and Vaid’s employment

 agreements, when it failed to pay each approximately $25,000 owed under those agreements.

 Each of these breaches renders the respective APA, MSA, and employment agreements

 unenforceable, and, in particular, makes the non-competition provisions contained within the

 APA and employment agreements unenforceable.

        Contrary to StrateSphere’s efforts to cast themselves as victims of rogue employees who

 sought to “compete” with StrateSphere in violation of the APA, this lawsuit and all related

 problems are of StrateSphere’s own creation, as StrateSphere violated every agreement it entered

 with Counterclaim Plaintiffs. The problem with the APA and how the facts played out is that



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 StrateSphere received the Software in exchange for StrateSphere’s future promises: (1) to

 provide membership interests; (2) to make capital contributions to KLLC to grow the new

 partnership’s business; (3) to make royalty payments to Kognetics; (4) to compensate Thukral

 and Vaid under employment agreements; and, (5) to pay Counterclaim Plaintiffs to continue to

 manage and update the Software under the MSA, because StrateSphere did not have the

 employees who could operate or maintain the Software.

        But, at best, StrateSphere could not afford to pay the promises it made, or at worst, never

 intended to live up to its obligations. What is undisputed (and evidenced in StrateSphere’s books

 and records) is the following:

            •   StrateSphere misrepresented it was worth $30 to $50 million;

            •   Kognetics executed a Bill of Sale at closing, giving StrateSphere legal possession
                and control of the Software;

            •   StrateSphere recognized revenue associated with the Software in KLLC’s books
                immediately following the APA’s close;

            •   StrateSphere consistently underfunded KLLC from the start in spite of its
                obligations under the APA;

            •   StrateSphere did not make royalty payments to Kognetics; and,

            •   StrateSphere never paid an invoice to Kognetics in full under the MSA;

            •   StrateSphere did not pay Vaid and Thukral their full salaries in 2020.

        Each of these events predate any of StrateSphere’s allegation that Kognetics

 “competed”—and that alone is telling. After the APA closed, StrateSphere was Kognetics’ sole

 source of revenue. Rather than being Kognetics’ saving grace, however, StrateSphere

 unilaterally breached the APA, the MSA, and the Employment Agreements as a means to choke

 off Kognetics’ life line and with it, Kognetics’ ability to pay its employees, vendors, and

 creditors, including the Indian government. Consequently, Kognetics never sought to “compete”

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 with StrateSphere, rather Kognetics told clients to start paying them directly for the services they

 were providing to the clients. This nuclear-option circumvention was not “competition”; it was

 self-help to mitigate the damage StrateSphere inflicted by failing to pay its undisputed debts to

 Kognetics.

        Despite StrateSphere’s clear failings under the APA, MSA, and employment agreements,

 StrateSphere had the temerity to run to the Franklin County Common Pleas Court and claim to

 be the “victim” of its own (underpaid) employees who were improperly “competing”. Then in

 late 2021, after discovery showed there was nothing to StrateSphere’s case, StrateSphere injected

 a Hail Mary theory into the case. Without evidence, or even a good faith basis to make this

 assertion, StrateSphere claimed Kognetics had improperly copied the Software and used the

 Software to create a new, competing piece of software. StrateSphere has essentially abandoned

 this claim, making it ripe for summary judgment.

        In the end, each of StrateSphere’s theories of this case relate to after-the-fact issues that

 arose in 2020 or later. Due to StrateSphere’s conduct in 2018 and 2019, namely StrateSphere’s

 fraudulent inducement, and first breaches, however, StrateSphere’s claims are all moot. Put

 simply, this entire case boils down to two issues.

        The first issue is whether StrateSphere fraudulently induced Kognetics to enter the APA,

 MSA, or employment agreements. If so, Kognetics has a choice of remedies. It can void those

 agreements and receive damages suffered because of StrateSphere’s deceptive behavior, as well

 as punitive damages and litigation costs. Alternatively, Kognetics can chose to not void the

 contracts, but seek damages for the fraud. For purposes of this Motion and (if necessary) the

 upcoming bench trial on liability, Kognetics simply seeks summary judgment as to




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 StrateSphere’s liability for the fraudulent inducement. By agreement of the Parties and this

 Court, damages will be determined in a separate hearing.

        The second issue, is whether StrateSphere first breached the APA, MSA, and

 Employment Agreements, thus voiding Kognetics, Thukral, and Vaid’s obligations under the

 respective agreements.

        Lastly, Kognetics, Thukral, and Vaid are also entitled to summary judgment regarding

 StrateSphere’s First Supplemental Complaint, because StrateSphere had no basis for bringing the

 Supplement, and there are no facts that support the claims made in the First Supplemental

 Complaint.

        Regardless of which theory applies, Kognetics, Thukral, and Vaid are entitled to

 summary judgment on their claims against StrateSphere, and dismissal of StrateSphere’s claims

 against them, leaving only Kognetics’ shareholder claims, tortious interference claims, and

 copyright infringement claims for trial.

                                            BACKGROUND

 A.     StrateSphere Takes an Interest in the Kognetics Software.

        For nearly a decade, Thukral and Vaid led Kognetics as it designed and built the

 Software, which uses artificial and augmented intelligence to analyze merger, acquisition, and

 investment opportunities for businesses, analysts, and others in the financial-services sector.

 (Ex. A, Decl. of I. Thukral, Aug. 12, 2021, ¶ 2). The Software is essentially a living-industry

 taxonomy with a database that requires daily data inputs and human adjustments so that the

 information in the Software is updated and valuable to its users. (Id. at ¶ 4). The Software is

 similar to a program like Westlaw. New cases, articles, and other materials must be uploaded to

 the database daily so that Westlaw remains up to date. (Id.). Further, the data fed into Westlaw


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 must be analyzed, tagged, processed, and checked for accuracy (in other words, curated) before

 its customers can properly use the technology. (Id.). It is the same with the Software. The

 Software requires daily updates through human curation to stay competitive and useful. The

 Software was marketed to clients through Thukral and Vaid’s company, Kognetics. (Id. at ¶ 5).

        StrateSphere first worked with Boston Analytics—the consulting division of Pythhos

 Technology Pvt Ltd. and sister company to Kognetics, Inc.—in 2017 on a consulting

 engagement. (Ex. B, Decl. of R. Vaid, March 23, 2022, at ¶ 2). By late 2017 and into early

 2018, the two companies started discussing a partnership which would combine the Software’s

 capabilities with StrateSphere’s business opportunities in the Middle East. (30(b)(6) Dep. of

 D. Caiazza (Doc. 123-3) at 26:20–24, Feb. 18, 2022, “30(b)(6) Caiazza Dep.”).

 B.     StrateSphere Artificially Inflates Its Value Through a Self-Dealing Transaction To
        Induce Acceptance of the APA and MSA.

        StrateSphere, by its own admission, has never had a formal business valuation. (30(b)(6)

 Dep. of T. Farwana (Doc. 123-2) at 94:18–20, Feb. 24, 2022, “30(b)(6) Farwana Dep.”). Under

 StrateSphere’s 2016 Amended and Restated Operating Agreement, StrateSphere’s members

 decided to simply “agree” that the company was worth $15 million in 2016. (Ex. C at 4,

 StrateSphere Operating Agreement (Doc. 123-5), § 4.1(g)(ii)). In substantiation of that

 valuation, StrateSphere issued 224 Class A Shares to a new member, Edwin Eisendrath, at a “fair

 market value” of $111.40 per share, so that the newly issued shares were cumulatively worth

 $24,954.16. (Ex. D, February 13, 2016 Restricted Share Grant Agreement). That valuation

 remained the same for over two years.

        Two years later, on June 28, 2018, while Kognetics and StrateSphere were negotiating

 the Asset Purchase Agreement, StrateSphere “determined” that StrateSphere was now worth $50

 million. (Ex. E at 1, June 28, 2018 Written Actions Without a Meeting). In other words,

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 overnight and without holding a meeting of the Board of Managers or the Members,

 StrateSphere declared that it had more than tripled in value. (See id.). Even more, StrateSphere

 authorized the repurchase of 10% of StrateSphere’s shares from the majority member, the

 Farwana Trust. StrateSphere was authorized to pay the Farwana Trust with a $5 million

 promissory note bearing 12% interest, in exchange for the 10% interest in StrateSphere, which

 was worth exactly $1,500,000 just days earlier. (See id.).

        The $50 million valuation in mid-2018 was untethered to reality. By StrateSphere’s own

 admission, the $50 million valuation was not based on StrateSphere’s revenue, EBITDA, or

 comparable businesses. (30(b)(6) Farwana Dep. at 96:10–97:2). Even worse, just months later,

 in December 2018, StrateSphere entered into a separate, subsequent share repurchase in which

 Farwana represented that the company’s value ranged from $1,410,556 to $2,821,330. (Ex. F,

 T. Farwana Email to A. Saxena). Specifically, when former employee Atul Saxena sought to sell

 his 3.5447% interest in StrateSphere back to the company, Farwana—without Kognetics’

 input—told Saxena, “Based on the company’s liquidity and risks associated with recent events in

 KSA, we are prepared to offer you $50,000 to $100,000 for your shares in StrateSphere.” (Id.).

 Using Farwana’s December valuation, the Farwana Trust shares were worth, at best, $282,133—

 a $1,467,867 difference from the mid-2018 valuation. And Farwana testified that even he does

 not take the $50 million valuation of StrateSphere seriously, because he values his family’s

 majority stake in StrateSphere at “a million dollars, $2 million”—which again sets the total value

 of StrateSphere LLC nowhere near the $50 million valuation artificially assigned to StrateSphere

 in June 2018. (30(b)(6) Farwana Dep. at 112:6–15).

        Yet, throughout the negotiation with Thukral and Vaid regarding the Kognetics Software,

 StrateSphere, through Farwana, represented to Thukral and Vaid that StrateSphere was in fact



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  worth $30 to $50 million. (Vaid Decl. at ¶ 9). Farwana made that representation to Thukral and

  Vaid on a whiteboard during negotiations in July 2018. (Ex. G, Photo of Whiteboard; Vaid Decl.

  at ¶¶ 8–11). The whiteboard shows that Farwana knew that Thukral and Vaid valued the

  Software’s business at approximately $12 million (based on Kognetics’ approximately $2

  million in revenues times a valuation multiplier of 6). (Vaid Decl. at ¶¶ 8–11). Farwana sought

  to purchase an 80% stake in the Kognetics business, meaning Farwana needed to come up with a

  package worth $9.6 million to pay the price Thukral and Vaid sought. (Id.). Farwana told

  Thukral and Vaid that a 10% stake in StrateSphere was worth $3 to $5 million—the bulk of the

  purchase price. (Id.). For the remainder, Farwana added capital contributions, royalty payments,

  and fundraising assistance as sweeteners for the cash-strapped Kognetics. Based on these

  conditions, it appeared StrateSphere had created a bundle of overstated stock and future promises

  to pay for the Software’s $9.6 million price tag.

         Farwana knew, however, that the $50 million valuation was fictional, and was nothing

  more than a number he had reverse-engineered specifically to induce the sale. (30(b)(6) Farwana

  Dep. at 95:10–96:9). On August 22, 2018, Vaid and Thukral entered into the APA in reliance on

  the understanding that they were selling their Software in exchange for shares worth $5 million,

  and other consideration. (Vaid Decl. at ¶ 13).

  C.     The Terms of the APA.

         Under the APA, the StrateSphere Companies defined the “Purchase Price” of the

  Software as the sum of (a) “Class A membership units” of StrateSphere “equal to ten percent

  (10%) of the issued and outstanding membership units to [Kognetics]”; and (b) “125,000 Class B

  voting membership units” of KLLC (a newly created entity to house the Software’s receivables).

  (Ex. H at 3, APA, § 1.05). Moreover, under the APA, KHC (a newly created entity to hold the


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  Software’s IP) agreed to pay Kognetics an annual royalty of $100,000, “which amount shall be

  paid in equal bi-annual installments on or about January 31st and July 31st of each year.”

  (Id. at 4, § 1.08). Those royalty payments were subject to increase based on revenue targets for a

  given year. (Id.). Finally, § 1.10 of the APA (titled “StrateSphere Funding Requirements”)

  obligated StrateSphere to make capital contributions to KHC or “secure new customer contracts”

  for the first year following closing totaling $1 million, made in monthly, relatively equal

  installments. (Id. at 6, § 1.10). StrateSphere was also obligated to assist and support KHC in

  raising equity or debt capital of up to $20 million during the five years after close. (Id. at 6,

  § 1.10(b)).

  D.     The Terms of the MSA.

         Under the MSA, Kognetics agreed to service the Software through research and analysis

  work, building industry maps, creating analytics, and other ad hoc projects. (Ex. I, MSA at

  Annex. A). This included Kognetics providing the “development, production and creation of

  Deliverables and other related services as requested by [StrateSphere] from time to time pursuant

  to the mutually agreed SOW.” (Id. at §1.1.5).

         The fees were set at a maximum of $2.5 million per annum, based on resources used. (Id.

  at 11, Annex. A). Payments were due monthly, and overdue invoices accrued at an interest rate

  of 18% per annum. (Id. at ¶ 7). Under the MSA, KHC was responsible for “all taxes.” (Id.).

  Last, all intellectual property rights in the deliverables, including updates to the Software, were

  to be owned by KHC, “subject to payment of charges, fees, and costs . . . in full.” (Id. at ¶ 10.1).

  Consequently, any Deliverables, as well as Software enhancements, upgrades, or modifications

  are owned by StrateSphere, unless StrateSphere failed to pay. Which is precisely what

  happened.



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  E.     StrateSphere Immediately Breaches the APA and MSA.

         After executing the APA and MSA on August 22, 2018, Kognetics immediately complied

  with the APA and the MSA. Kognetics conveyed to the StrateSphere Companies a Bill of Sale

  transferring all defined assets from Kognetics to the StrateSphere companies. (Ex. I, APA at 66–

  69). Kognetics also gave StrateSphere the legal possession and control of the Software—a right

  that StrateSphere demonstrated conclusively when it exercised in April 2020 the power to

  unilaterally shut down the Software, including customer access to the Software. (Vaid Decl. at

  ¶¶ 17, 25, 27). Monthly subscription revenue for the Software was booked in KLLC’s account.

  (Id. at ¶ 18). And Kognetics continued to maintain and update the Software, as well as perform

  additional tasks for StrateSphere as required under the MSA. (Id. at ¶¶ 18–20).

         Despite performing its obligations, in the first month after StrateSphere and Kognetics

  closed on the APA, September 2018, StrateSphere failed to make the first capital contribution it

  owed under the APA. (Id. at ¶ 21). Indeed, through 2018 and 2019, StrateSphere repeatedly

  underpaid the promised capital contributions, and failed to raise any equity or debt capital as

  contractually obligated. (Id. at ¶ 22). StrateSphere’s failure is captured in an email Caiazza sent

  to Farwana telling Farwana that StrateSphere owed $296,111 to Kognetics LLC to be in

  compliance with the APA and MSA. (Ex. J, Email from D. Caiazza to T. Farwana (Doc. 123-6),

  Dec. 31, 2018.) The debt has only grown since then. Likewise, StrateSphere failed to make the

  required royalty payments to Kognetics, which, to date, total $300,000 in missed payments.

  (Thukral Decl. at ¶ 21). StrateSphere’s own financial documents acknowledge these debts to

  Kognetics. Specifically, KHC’s October 31, 2019 Balance Sheet shows a royalty obligation to

  Kognetics of $400,000. (Ex. K, KHC Balance Sheet as of Oct. 31, 2019 (Doc. 123-7)). By

  October 31, 2019, that liability should have been reduced by $100,000, if the royalties had been

  paid, but it was not. Further, in a document signed by Farwana, the StrateSphere Companies
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  agreed that Kognetics, Inc. was owed “$100,000 for Royalty Year 2019 and $50,000 as of

  January 31, 2020.” (Ex. L, Omnibus Restructuring Agreement (Doc. 123-8)).

         Just as it failed to make good on any of its promises under the APA, StrateSphere

  likewise consistently underpaid Kognetics under the MSA by more than $539,000 in services

  and $295,000 in reimbursable costs. (Thukral Decl. at ¶ 22). Moreover, it is undisputed that

  StrateSphere owes these exact amounts to Kognetics, as StrateSphere and Kognetics worked

  together in December 2019 to reconcile precisely what StrateSphere owed. (Id.). In this

  reconciliation, StrateSphere extensively reviewed the supporting documentation for Kognetics’

  invoices to StrateSphere. (Id.). Despite knowing exactly how much it owes Kognetics,

  StrateSphere still—nearly two and a half years later—has not paid Kognetics for the services that

  were indisputably provided to StrateSphere. (Vaid Decl. at ¶ 21).

         Likewise, StrateSphere underpaid Thukral and Vaid by approximately $25,000 each in

  2020 under the Employment Agreements. StrateSphere’s General Ledger shows that it only paid

  Thukral and Vaid $10,000 each in 2020, even though they should have each been paid $35,000

  for the months that they were StrateSphere employees. (Ex. M, StrateSphere Ledger 2021

  (Doc. 123-9)).

                                       LEGAL STANDARD

         Summary judgment is proper “if the movant shows that there is no genuine dispute as to

  any material fact and the movant is entitled to judgment as a matter of law.” Fed. R.

  Civ. P. 56(a). The burden is on the moving party to conclusively show that no genuine issue of

  material fact exists. Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986); Lansing Dairy, Inc. v.

  Espy, 39 F.3d 1339, 1347 (6th Cir. 1994). Once the movant presents evidence to meet its

  burden, the nonmoving party may not rest on its pleadings, but must come forward with


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  significant probative evidence to support its claim. Celotex, 477 U.S. at 324; Lansing Dairy, 39

  F.3d at 1347.

         The Court is not obliged to sua sponte search the record for genuine issues of material

  fact. Betkerur v. Aultman Hosp. Ass’n, 78 F.3d 1079, 1087 (6th Cir. 1996); Guarino v.

  Brookfield Twp. Trs., 980 F.2d 399, 404–06 (6th Cir. 1992). The burden falls upon the

  nonmoving party to “designate specific facts or evidence in dispute.” Jordan v. Kohl’s Dep’t

  Stores, Inc., 490 F. App’x 738, 741 (6th Cir. 2012) (quotation omitted). If the nonmoving party

  fails to make the necessary showing for an element upon which it bears the burden of proof, then

  the moving party is entitled to summary judgment. Celotex, 477 U.S. at 323.

         Granting summary judgment depends upon “whether the evidence presents a sufficient

  disagreement to require submission to a jury or whether it is so one-sided that one party must

  prevail as a matter of law.” Amway Distribs. Benefits Ass’n v. Northfield Ins. Co., 323 F.3d 386,

  390 (6th Cir. 2003) (quoting Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 251–52 (1986)). In

  sum, the nonmoving party, at this stage, must present some “sufficient disagreement” that would

  necessitate submission to a jury. See Moore v. Phillip Morris Cos., Inc., 8 F.3d 335, 340

  (6th Cir. 1993) (quoting Anderson, 477 U.S. at 251–52). In making that determination, though,

  this Court must view the evidence in the light most favorable to the nonmoving party.

  See Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 587 (1986).

                                           ARGUMENT

  A.     The StrateSphere Companies Fraudulently Induced Kognetics to Enter the APA
         and MSA.

         The first issue before the Court is whether the StrateSphere Companies fraudulently

  induced Kognetics to enter the APA and MSA by misrepresenting the value of the equity

  Kognetics would receive in exchange for the Software. The straightforward facts before the

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  Court are essentially a hornbook example of fraudulent inducement. And the material facts are

  summed up in a photo from a July 2018 meeting between Farwana, Thukral, and Vaid.




         Farwana acknowledges that his handwriting is in the upper left corner of this photo.

  (Dep. of T. Farwana (Doc. 123-1), Feb. 25, 2022 at 55:8–56:3). The photo clearly shows

  Farwana’s deceit. His handwriting shows that the price of the Kognetics business was $9.6

  million (in orange), and that he represented 10% of StrateSphere was worth $3 to $5 million—

  the bulk of the consideration for the Software. Farwana knew that the $50 million valuation was

  pure fiction, yet made that representation to Kognetics for the express purpose of obtaining the

  Software. (30(b)(6) Farwana Dep. at 95:10–97:2). Kognetics relied on Farwana’s

  representation, and sold the Software to StrateSphere to their detriment. (Vaid Decl. at ¶ 13).

         Under Ohio law, a fraudulent inducement claim requires showing that: (1) the defendant

  made a representation; (2) the representation was material to the transaction; (3) the defendant

  made the representation either knowing it was false or with such utter disregard for the truth or

  falsity that one may infer that it was knowingly false; (4) the defendant intended to mislead the

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  plaintiff into relying on the representation; (5) the plaintiff justifiably relied on the defendant’s

  representation; and (6) the plaintiff’s reliance on the defendant’s representation proximately

  cause the plaintiff’s injury. Volbers-Klarich v. Middletown Mgmt, Inc., 125 Ohio St.3d 494, 501,

  2010-Ohio-2057, 929 N.E.3d 434, ¶ 27. The indisputable facts establish each of these elements.

  As such, summary judgment should be entered in Kognetics’ favor, and against StrateSphere.

          1.      StrateSphere’s Claimed Value of $50 Million Was Admittedly False and
                  Made to Induce Assent to the APA.

          So when we were doing the Kognetics transaction, they presented to us what the value of
          their software was somewhere in the 4.8 million size. They thought it was a fair
          $5 million value. We were going to give 10 percent of the company. That’s what—how
          that valuation ended up to be used.

                  —30(b)(6) Farwana Dep. at 95:13-19

          StrateSphere intentionally misrepresented its value to induce the sale of the Software.

  “A classic claim of fraudulent inducement asserts that a misrepresentation of facts outside the

  contract or other wrongful conduct induced a party to enter into the contract. Examples include a

  party to a release misrepresenting the economic value of the released claim ... .” Rui He v. Rom,

  751 F. App'x 664, 671 (6th Cir. 2018) (affirming a finding of fraudulent inducement where the

  economic value of investments and services sold had been misrepresented) (citing ABM Farms,

  Inc. v. Woods, 1998-Ohio-612, 81 Ohio St. 3d 498, 503, 692 N.E.2d 574, 578). This case

  presents that classic claim.

          StrateSphere claimed that it was worth $50 million making a 10% stake in the company

  worth $5 million. There is no legitimate dispute that StrateSphere made this representation—it

  did so in whiteboard handwriting captured in the photograph above in July 2018. Farwana and

  Caiazza used this same number in their June 28, 2018 declaration that the value of StrateSphere

  had more than tripled overnight to $50 million, so that Farwana could enrich himself by

  $5 million. (Ex. N, June 29, 2019 Written Actions Without a Meeting of the Members).

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         Nor is there a genuine dispute that StrateSphere was never actually worth $50 million.

  Farwana, on behalf of StrateSphere, disclaimed the $50 million value repeatedly in his

  deposition. (30(b)(6) Farwana Dep. at 95:10–97:2; 102:3–13; 105:6–106:16). And when

  Farwana made an offer to repurchase Saxena’s StrateSphere shares in late-2018, he valued the

  company at $1.4 to $2.8 million. Notably, there had not been any events that would have

  significantly devalued StrateSphere in the intervening months between the APA in August 2018

  and the Saxena repurchase in December 2018.

         Last, the whiteboard photograph makes clear that Farwana not only misrepresented

  StrateSphere’s value, but he used that misrepresentation to convince Kognetics, Thukral and

  Vaid that the package he was offering met their price of $9.6 million for 80% of the Kognetics

  business. (Vaid Decl. at ¶ 11). Farwana testified that he knew a $5 million valuation of

  StrateSphere was critical to sealing the deal, stating, “the value of [the Software] in the eye of the

  beholder was five million . . . we took the approach that we’ll take [the Software], we have 10

  percent available here . . . so that gives you whatever parameter you want to satisfy for yourself.”

  (30(b)(6) Farwana Dep. at 102:9–18). In other words, Farwana knew that a $50 million

  company value would make a 10% stake in the company equal to the value Kognetics had put on

  the Software, and that value was needed to seal the deal.

         At bottom, the $50 million valuation was self-serving for Farwana (it enriched him by

  $5 million, and bought him the Software) but it was a lie. Farwana knew it was a lie, but he told

  it anyway to get the Software. As such, the first, third, and fourth elements for fraudulent

  inducement have been met.




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         2.      The $50 Million Valuation of StrateSphere Was Material to the APA and was
                 Justifiably Relied Upon.

         Kognetics, Thukral, and Vaid justifiably relied upon StrateSphere and Farwana’s false

  representation as to the value of the 10% interest in StrateSphere—which was a material

  misrepresentation. StrateSphere’s misrepresentations to Kognetics about the overinflated value

  of StrateSphere and the overinflated value that Kognetics would receive in exchange for the

  Software was material, as the 10% interest in StrateSphere represented the lion’s share of the

  benefit of the bargain that Kognetics expected from the APA and MSA. As noted above, the

  Software and its attendant business was valued at approximately $12 million, making an 80%

  share in that business worth $9.6 million. The promised $5 million equity interest in

  StrateSphere made up over half of that payment. Simply put, if StrateSphere had not agreed to

  issue Kognetics what it represented was $5,000,000 in equity as part of the payment under the

  APA, Kognetics would not have entered the APA. (Vaid Decl. at ¶ 11).

         Kognetics, Thukral, and Vaid justifiably relied on StrateSphere’s material

  misrepresentation. Reliance is justifiable when the representation “does not appear unreasonable

  on its face” and “if under the circumstances . . . there is no apparent reason to doubt the veracity

  of the representation.” Lepera v. Fuson, 83 Ohio App. 3d 17, 26, 613 N.E.2d 1060, 1065 (1992).

  Accordingly, to determine whether reliance was justifiable, the Court “must inquire into the

  relationship between the parties” as well as the “surrounding circumstances.” Id.

         There are many layers to the relationship between StrateSphere and Kognetics, as well as

  the attendant circumstances to the APA’s negotiation that supports Kognetics justifiably relying

  on StrateSphere’s representations regarding its value. First, the $50 million valuation appeared

  reasonable based on the information available to Thukral and Vaid at the time. StrateSphere

  advertised a long history of successful projects including partnering with defense contractors to


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  develop economic development projects within Saudi Arabia, had invested in entrepreneur

  educational software, in BMX track construction (including constructing a track for the Olympic

  games in Brazil), and other projects. (Vaid Decl. ¶ 5; https://web.archive.org/web/2017053108

  3518/http://www.StrateSphere.com/company). By 2018, when negotiations between

  StrateSphere and Kognetics had become serious, StrateSphere had been in business for

  approximately twelve years, and thus appeared to have a track history of success. (Id.).

         Second, StrateSphere and Kognetics had had a productive working relationship leading

  up to the APA negotiations. (Caiazza 30(b)(6) Dep. at 26:1–7). As early as August 2017,

  StrateSphere and Kognetics’ sister company Boston Analytics had negotiated a joint venture

  agreement to pursue business in Saudi Arabia together. (Id. at 27:11–28:4). Accordingly, trust

  had been built between the two organizations. (Vaid Decl. at ¶ 5).

         Third, StrateSphere was the purchaser, while Kognetics was the seller. Under the non-

  binding term sheet entered in March 2018, StrateSphere had the right to conduct legal and

  financial due diligence regarding “all aspects of the Kognetics business.” (Ex. O, Non-Binding

  Term Sheet, Mar. 30, 2018 at 2). Kognetics was not granted the reciprocal right to review

  StrateSphere’s financials. Thus, Kognetics did not have any outside source of information to

  confirm StrateSphere’s representations, other than the word of Farwana and Caiazza—the two

  perpetrators of the inside deal that artificially set StrateSphere’s value at $50 million.

         Last, Kognetics was not represented by counsel while StrateSphere was represented by

  the reputable law firm, Ice Miller, and its former managing partner Richard Barnhart. (Vaid

  Decl. at ¶ 15). Barnhart also served on StrateSphere’s advisory board. (Id.). As such,




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  Kognetics, Thukral, and Vaid trusted that the deal being put together by Ice Miller was on the up

  and up, given Barnhart’s reputation and insights into StrateSphere’s business. (Id.).2

         Given the relationship between the parties and the surrounding circumstances, reliance on

  StrateSphere’s material representations regarding its value was justifiable. Accordingly, based

  on the undisputed facts, the second and fifth elements of fraudulent inducement are met.

         3.      Kognetics’ Relied on StrateSphere’s Lie to Its Detriment.

         Undoubtedly, Kognetics has been harmed by entering into the APA and the MSA.

  Kognetics transferred ownership, custody, and control of the Software to StrateSphere, only to

  then be underpaid under the APA and MSA, resulting in extreme financial hardship. (Vaid Decl.

  at ¶¶ 21–23). Even more, Kognetics watched as StrateSphere took the Software, comprised of

  years of work and millions of dollars of investment, and drove it into the ground. (Id. at ¶¶ 29–

  30). Finally, Kognetics, Thukral, and Vaid have been deprived of the opportunity to compete in

  the marketplace due to the noncompetition clause in the APA, which has improperly deprived

  them of revenue for years. (Id.).

         For the reasons above, StrateSphere fraudulently induced Kognetics to execute the APA

  and MSA, which resulted in StrateSphere owning, controlling, and taking custody of the

  Software to Kognetics’ detriment. Thus, Kognetics has the option to void the APA and MSA

  and receive damages that Kognetics suffered because of StrateSphere’s deceptive behavior, as

  well as punitive damages and litigation costs.




  2
         Unfortunately, what Kognetics did not know was that Barnhart was the holder of a
  mortgage issued by an entity related to Farwana secured by property in Florida that was not
  released until March 2020, and thus was not independent or without bias. (Exs. P & Q)
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  B.     Alternatively, Under the “First Breach” Doctrine, the StrateSphere Companies
         Breached the APA and MSA.

         Even if the StrateSphere Companies did not fraudulently induce Kognetics into entering

  the APA and MSA, Kognetics is still entitled to the damages it suffered because of

  StrateSphere’s material breaches of those contracts. Further, StrateSphere’s material breaches of

  these agreements void the noncompetition provisions contained in those agreements.

         Ohio law relieves a party of liability for its breach of a contract if the other party

  materially breaches the contract first. Constellation NewEnergy, Inc. v. Carborundum Grinding

  Wheel Co., No. 2:15-cv-2880, 2017 WL 1021365, at *2 (S.D. Ohio 2017) (citation omitted). “A

  ‘material breach of contract’ is a failure to do something that is so fundamental to a contract that

  the failure to perform defeats the essential purpose of the contract or makes it impossible for the

  other party to perform.” Id. (additional citation omitted).

         1.      Kognetics Performed Its Obligations Under the APA and MSA, Including
                 the Immediate Execution of a Bill of Sale That Gave Ownership, Custody,
                 and Control of the Software to the StrateSphere Companies.

         Pursuant to the APA and MSA, Kognetics executed a Bill of Sale for the Software to the

  StrateSphere Companies on the day of closing, August 22, 2018. In doing so, Kognetics gave

  the StrateSphere Companies ownership, custody, and control of the Software. Kognetics then

  continued to update, service, and sell the Software, as required by the MSA. Thus, Kognetics

  fulfilled its contractual obligations under the APA and MSA.




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         2.     The StrateSphere Companies Committed the First Material Breaches of the
                APA and MSA.

         Q. Invoices were submitted yes? A. Yes. Q. They were not paid in full? A. They were
         not paid in full.

                –Farwana 30(b)(6) Dep. 148:15–19

         Although Kognetics had performed all of its obligations under the APA and MSA, the

  StrateSphere Companies committed the first material breaches of the APA and MSA just weeks

  after the companies had closed on those agreements when the StrateSphere Companies failed to

  make the required capital contributions under the APA, and then did not pay a single MSA

  invoice in full. The StrateSphere Companies’ own documents reflect these initial breaches.

  (Exs. K, L, M). See supra at 10–11.

         Specifically, the evidence shows Caiazza told Farwana that StrateSphere owed $296,111

  to Kognetics LLC to be in compliance with the APA and MSA in December 2018. (See Ex. J).

  Likewise, StrateSphere failed to make the required royalty payments to Kognetics, which, to

  date, total $300,000 in missed payments. (Thukral Decl. at ¶ 21). StrateSphere’s own financial

  documents acknowledge these debts to Kognetics. (Ex. K). Farwana himself acknowledged that

  Kognetics, Inc. was owed “$100,000 for Royalty Year 2019 and $50,000 as of January 31,

  2020.” (Ex. L).

         Just as it failed to make good on any of its promises under the APA, StrateSphere

  likewise consistently underpaid Kognetics under the MSA by more than $539,000 in services

  and $295,000 in reimbursable costs. (Thukral Decl. at ¶ 22). Moreover, it is undisputed that

  StrateSphere owes these exact amounts to Kognetics, as StrateSphere and Kognetics worked

  together in December 2019 to reconcile precisely what StrateSphere owed. (Id.). In this

  reconciliation, StrateSphere extensively reviewed the supporting documentation for Kognetics’

  invoices to StrateSphere. (Id.). Despite knowing exactly how much it owes Kognetics,

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  StrateSphere still—nearly two and a half years later—has not paid Kognetics for the services that

  were indisputably provided to StrateSphere. (Vaid Decl. at ¶ 21).

  C.     StrateSphere Breached the Employment Agreements of Thukral and Vaid.

         Similar to StrateSphere’s material breaches of the APA and MSA, StrateSphere also

  breached the Employment Agreements that it entered with Thukral and Vaid. In particular,

  while StrateSphere was breaching the APA and MSA, StrateSphere also attempted to poach

  employees of the company that Kognetics used to help maintain, update, and service the

  Software under the MSA, knowing that those employees were subject to non-compete

  agreements and that taking those employees would substantially disrupt Kognetics’ ability to

  continue to provide services under the MSA. (Vaid Decl. at ¶¶ 28–30). When Thukral and Vaid

  objected to StrateSphere’s behavior, StrateSphere retaliated by reducing their salaries, failing to

  pay approximately $25,000 to both Thukral and Vaid, and then unilaterally terminating their

  Employment Agreements without basis.

  D.     Kognetics Owns All Enhancements and Upgrades to the Software, Rendering
         StrateSphere’s First Supplement to the Second Amended Complaint Meritless.

         In StrateSphere’s First Supplement to its Second Amended Complaint StrateSphere

  added or modified seven of its claims in its Second Amended Complaint, including: (1) Count I,

  Breach of the APA; (2) Count II, Breach of the Operating Agreement; (3) Count IV, Breach of

  Employment Contract against Thukral; (4) Count V, Breach of Employment Contract against

  Rajeev Vaid; (5) Count VIII, Conversion; (6) Count IX, Declaratory Judgment regarding

  retention of “the Assets or Software following closing” on the APA; (7) Count XII,

  Misappropriation of Trade Secrets. These claims are based on StrateSphere’s allegations that

  “[u]pon information and belief, following the termination of the MSA, Defendants improperly

  retained a copy of the Software (and/or other Assets), and that “[u]pon information and belief,

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  [Kognetics] used that information and/or otherwise used Plaintiffs’ Software (and/or other

  Assets) to create, in whole or in part, their supposedly new software and/or artificial intelligence

  platform.” (First Supplement to Their Second Amended Complaint, “the Supplement”

  (Doc. 79), filed Nov. 4, 2021).

         As to StrateSphere’s first claim that Kognetics “improperly retained a copy of the

  Software,” this claim is false as a matter of law. Following the execution of the APA, Kognetics

  had the specific right to retain/use the Software according to the MSA. Specifically, under the

  terms of the MSA, Kognetics agreed to provide StrateSphere with certain services, including

  custom software development, support, and other services related to the Artificial Intelligence

  Platform. (See Ex. I at the first Whereas clause; id. § 1.1.5 (defining “Services”)). That means

  that StrateSphere agreed that Kognetics would have the Software and would provide

  “development, support, and other related services” related to the Software—a contractual

  obligation and fact known by all.

         Further, under the terms of the MSA, Kognetics was to provide services as set out in

  Annexure A. (Id. at § 2). StrateSphere was then obligated to pay Kognetics for its services. (Id.

  at § 7.) So long as Kognetics was paid in full, StrateSphere would receive all intellectual

  property rights in the deliverables created by Kognetics under the MSA. (Id. at § 10.1). If

  Kognetics was not paid, however, then Kognetics would retain the intellectual property rights in

  the deliverables created by the MSA. (Id.) Importantly, the MSA explicitly states that it “forms

  the complete and exclusive agreement between the Parties in relation to the Services. All

  previous agreements, correspondence, and understandings related to the subject of this

  Agreement are superseded by this Agreement . . . .” (Id. at § 12.2).




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         Therefore, the MSA controls whether Kognetics has a right to possess the Software, and

  clearly it does, as it is undisputed that StrateSphere has not made full payments under the MSA.

  (Farwana 30(b)(6) Dep. 148:15–19). Thus, it is incorrect to allege that Kognetics has no right to

  possess the Software, and summary judgment must be entered in Kognetics’, Thukral’s and

  Vaid’s favor on all supplemental claims.

                                          CONCLUSION

         For these reasons above, Thukral and Vaid are entitled to summary judgment on their

  unjust enrichment claims against the StrateSphere Companies. Moreover, Kognetics is entitled

  to summary judgment on its fraudulent inducement claim against the StrateSphere Companies.

  Alternatively, if the Court does not enter summary judgment on the fraudulent inducement claim

  and finds that the APA and MSA are valid, then Kognetics is entitled to summary judgment on

  its breach of contract claims. Finally, Kognetics, Vaid, and Thukral are entitled to summary

  judgment on StrateSphere’s First Supplement to the Second Amended Complaint.

  Date: May 16, 2022                                Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

         The undersigned hereby certifies that on May 16, 2022, the foregoing was electronically

  filed with the Clerk of Court using the CM/ECF system and was served on all counsel of record.




                                                      /s/ Shawn J. Organ
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